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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 JUSTIN L. LEE
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-00267-TLN
12                                 Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   FERLANDO CARTER and LUIS                            DATE: July 24, 2014
     BUSTAMANTE,                                         TIME: 9:30 a.m.
15                                                       COURT: Hon. Troy L. Nunley
                                   Defendants.
16

17
                                                 STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendants, by and
19
     through defendants’ counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on July 24, 2014.
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            2.      By this stipulation, defendants now moves to continue the status conference until
22
     September 18, 2014, and to exclude time between July 24, 2014, and September 18, 2014, under Local
23
     Code T4.
24
            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The United States has represented that the discovery associated with this case
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            includes eighty-eight pages of paper discovery and fifty CDs containing audio and video
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            recordings. All of this discovery has been produced directly to counsel.
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                    b)     Counsel for defendants desire additional time consult with their clients, review the

      STIPULATION REGARDING EXCLUDABLE TIME              1
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 1          discovery produced in this case, investigate the case, and discuss potential resolution of this

 2          matter with the United States.

 3                  c)      Counsel for defendants believe that failure to grant the above-requested

 4          continuance would deny them the reasonable time necessary for effective preparation, taking into

 5          account the exercise of due diligence.

 6                  d)      The United States does not object to the continuance.

 7                  e)      Based on the above-stated findings, the ends of justice served by continuing the

 8          case as requested outweigh the interest of the public and the defendants in a trial within the

 9          original date prescribed by the Speedy Trial Act.

10                  f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11          et seq., within which trial must commence, the time period of July 24, 2014 to September 18,

12          2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

13          T4] because it results from a continuance granted by the Court at defendants’ request on the basis

14          of the Court’s finding that the ends of justice served by taking such action outweigh the best

15          interest of the public and the defendants in a speedy trial.

16          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

17 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

18 must commence.

19          IT IS SO STIPULATED.

20
     Dated: July 15, 2014                                     BENJAMIN B. WAGNER
21                                                            United States Attorney
22
                                                              /s/ JUSTIN L. LEE
23                                                            JUSTIN L. LEE
                                                              Assistant United States Attorney
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25
     Dated: July 15, 2014                                     /s/ DOUGLAS BEEVERS
26                                                            DOUGLAS BEEVERS
27                                                            Counsel for Defendant
                                                              Ferlando Carter
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      STIPULATION REGARDING EXCLUDABLE TIME               2
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     Dated: July 15, 2014                            /s/ JASON LAWLEY
 1                                                   JASON LAWLEY
                                                     Counsel for Defendant
 2
                                                     Luis Bustamante
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 6                                       FINDINGS AND ORDER

 7         IT IS SO FOUND AND ORDERED this 17th day of July, 2014

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                                                        Troy L. Nunley
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                                                        United States District Judge
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      STIPULATION REGARDING EXCLUDABLE TIME      3
      PERIODS UNDER SPEEDY TRIAL ACT                               UNITED STATES V. CARTER, ET AL.
